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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                    -against-                                      24-CR-542 (AS)

 SEAN COMBS,                                                            ORDER
                                Defendant.



ARUN SUBRAMANIAN, United States District Judge:

        The pretrial conference scheduled for March 17, 2025 will now be held on March 14, 2025
at 11:00 AM in Courtroom 15A, Daniel Patrick Moynihan United States Courthouse, 500 Pearl
Street, New York, NY 10007. At the conference, the Court will also arraign Mr. Combs on the
superseding indictment.

       SO ORDERED.

Dated: February 11, 2025
       New York, New York



                                                             ARUN SUBRAMANIAN
                                                             United States District Judge
